                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                            Case No. 25-CR-89

HANNAH C. DUGAN
              Defendant.


                                SCHEDULING ORDER

      IT IS ORDERED that this matter is scheduled for telephonic status on Wednesday,

June 18, 2025, at 11:15 a.m.

      Dated at Milwaukee, Wisconsin, this 11th day of June, 2025.

                                      /s/ Lynn Adelman
                                      LYNN ADELMAN
                                      District Judge




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